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                    IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DONALD J. TRUMP FOR                     Civil Action
PRESIDENT, INC.; et al.,

            Plaintiffs,

      v.                                No.: 2:20-CV-966

KATHY BOOCKVAR; et al.,

            Defendants.                 Judge J. Nicholas Ranjan


                APPENDIX OF MATERIALS IN SUPPORT OF
 CROSS-MOTION FOR SUMMARY JUDGMENT BY INTERVENOR-DEFENDANTS
       NAACP PENNSYLVANIA STATE CONFERENCE, COMMON CAUSE
PENNSYLVANIA, LEAGUE OF WOMEN VOTERS OF PENNSYLVANIA, PATRICIA
  M. DEMARCO, DANIELLE GRAHAM ROBINSON, AND KATHLEEN WISE AND
      OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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      OPPOSITION TO PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

Exhibit                                           Description
1           Penn. Dep’t of State, Pennsylvania 2020 Primary Election Act 35 of 2020 Report (Aug.
            1, 2020)
2           Affidavit of Danielle Graham Robinson (“Graham Robinson Affidavit”)
3           Affidavit of Kathleen Wise (“Kathleen Wise Affidavit”)
4           Affidavit of Patricia M. Demarco (“DeMarco Affidavit”)
5           Expert Report of Robert Stein (“Stein Rpt.”)
6           Expert Report of Amber McReynolds (“Reynolds Rpt.”)
7           Expert Report of Paul Gronke (“Gronke Rpt.”)
8           Axel Hufford, The Rise of Ballot Drop Boxes Due to the Coronavirus, LAWFARE BLOG
            (Aug. 27, 2020), https://www.lawfareblog.com/rise-ballot-drop-boxes-due-coronavirus
9           Andrew Menger & Robert Stein, How to Measure and Assess the Turnout Effects of
            Election Reforms, 1 J. P. INSTITUTIONS & POL. ECON. 196 (2020)
10          CYBERSECURITY AND INFRASTRUCTURE SECURITY AGENCY (CISA) ELECTIONS
            INFRASTRUCTURE GOVERNMENT COORDINATING COUNCIL AND SECTOR COORDINATING
            COUNCIL’S JOINT COVID WORKING GROUP, UNITED STATES DEP'T OF HOMELAND
            SECURITY, BALLOT DROP BOX (2020)
11          VOPP: Table 9: Ballot Drop Box Definitions, Design Features, Location and Number,
            NATIONAL CONFERENCE OF STATE LEGISLATURES (Aug. 18, 2020),
            https://www.ncsl.org/research/elections-and-campaigns/vopp-table-9-ballot-drop-box-
            definitions-design-features-location-and-number.aspx
12          Letter from Thomas J. Marshall, General Counsel and Executive Vice President, United
            States Postal Service, to Hon. Kathy Boockvar, Secretary of the Commonwealth of
            Pennsylvania (July 29, 2020)
13          Demographics - County Profiles, CTR. RURAL PA.,
            https://www.rural.palegislature.us/county_profiles.cfm (last
            accessed Sept. 29, 2020) (downloadable Excel spreadsheet).
14          Deposition of Seth Bluestein (“Bluestein Dep.”)
15          Sullivan County Election Bureau - https://www.sullivancounty-pa.us/offices/election-
            bureau
16          Elk County Polling Locations - https://www.co.elk.pa.us/index.php/elk-county-polling-
            locations
17          Luzerne County Polling Locations - https://www.luzernecounty.org/1283/2020-
            Primary-Election#locations
18          Expert Report of Dr. Donald Burke (“Burke Rpt.”)
19          Expert Report of Matt Barreto (“Barreto Dep.”)
20          Lissandra Villa, Ballot Drop Boxes Are Emerging as a Vote-By-Mail Alternative—But
            They Have Critics, Too, TIME, August 20, 2020
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21     Loren Collingwood et al., Do Drop Boxes Improve Voter Turnout? Evidence from King
       County, Washington, 17 ELECTION L. J. 58 (2018)
22     William McGuire et al., Does Distance Matter? Evaluating the Impact of Drop Boxes
       on Voter Turnout, SOCIAL SCIENCES QUARTERLY (2020)
23     Stephen M. Kissler, et al., Projecting the transmission dynamics of SARS-CoV-2
       through the postpandemic period, 368 SCIENCE 860 (Apr. 14, 2020)
24     For Building Administrators and Proprietors: Use of Facilities as Polling Places
       During COVID-19, PA. DEP’T. OF HEALTH,
       https://www.health.pa.gov/topics/disease/coronavirus/Pages/Guidance/Polling-Places-
       Guidance.aspx (last accessed Oct. 3, 2020)
25     Michael Barthel & Galen Stocking, Older People Account for Large Shares of Poll
       Workers and Voters in U.S. General Elections, PEW RESEARCH CENTER (April 6, 2020)
26     Nicholas Reimann, Coronavirus Infections Spiked in Wisconsin After In-Person
       Election, Study Says, FORBES (May 19, 2020)
27     Expert Report of Lorraine Minnite (“Minnite Rep.”)
28     Justin Levitt, The Truth About Voter Fraud (2007)
29     Michael P. McDonald & Justin Levitt, Seeing Double Voting: An Extension of the
       Birthday Problem, 7 Election law Journal (2008)
30     U.S. GOVERNMENT ACCOUNTABILITY OFFICE, GAO-14-634, ELECTIONS: ISSUES
       RELATED TO STATE VOTER IDENTIFICATION LAWS (September 19, 2014; Released
       October 8, 2014; Reissued February 27, 2015)
31     Pennsylvania Absentee and Mail-in Ballot Return Guidance, Penn. Dep’t State (Aug.
       19, 2020),
       https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/PADOS_Bal
       lotReturn_Guidance_1.0.pdf (“August Guidance”)
32     Deposition of James Fitzpatrick (“Fitzpatrick Dep.”)
33     Deposition of Glenn Thompson (“Thompson Dep.”)
34     Deposition of Rep. John Joyce (“Joyce Dep.”)
35     Deposition of Rep. Guy Reschenthaler (“Reschenthaler Dep.”)
36     Deposition of Michael Kelly (“Kelly Dep.”)
37     Expert Report of Greg Riddlemoser (“Riddlemoser Rpt.”)
38     Rebecca Tran, Hundreds of Ballot Drop Boxes Are Coming to the D.C. Region. Here’s
       What to Expect, WASH. POST (Sept. 11, 2020),
       https://www.washingtonpost.com/local/md-politics/ballot-droboxes-maryland-dc-
       virginia/2020/09/10/4554087c-f1fe-11ea-b796-2dd09962649c_story.html
39     Penn. Dep’t of State, Guidance Concerning Examination of Absentee and Mail-in Ballot
       Return Envelopes (Sept. 11, 2020)
40     Guidance Concerning Civilian Absentee and Mail-in Ballots Procedures, PA. DEP’T OF
       STATE § 4.1 (Sept. 28, 2020),
       https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/DOS%20Gui
       dance%20Civilian%20Absentee%20and%20Mail-In%20Ballot%20Procedures.pdf
41     Deposition of Kimberly Frey (“Frey Dep.”)
42     Aug. 21, 2020 Deposition of Kathy Boockvar
43     Aug. 19, 2020 Deposition of Jonathan Marks
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44        Pennsylvania Applications and Balloting Guidance: Mail-in and Absentee Ballots and
          Voter Registration Changes, PA Dep’t State at 4–5 (Jan. 10, 2020)
          https://www.dos.pa.gov/VotingElections/OtherServicesEvents/Documents/PADOS_Act
          %2077_Absentee%20and%20Mail-in%20Guidance.pdf (providing additional guidance
          about, inter alia, selecting drop box locations)

Dated: October 3, 2020                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, the foregoing Appendix and accompanying exhibits

were filed electronically and served on all counsel of record via the ECF system of the U.S.

District Court for the Western District of Pennsylvania.


Dated: October 3, 2020


                                             / s/ Lori A. Martin

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